     Case 1:24-cv-23359-KMW Document 115 Entered on FLSD Docket 01/13/2025 Page 1 of 1

 AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                 for the Southern District of Florida – Miami Division

                                                     __________ District of __________
UNITED INVESTOR COMMUNITY
INC.                                                                        )
LYADUNNI UDUGBA                                                             )
OLUNGBENGA BERNARD ADESUYI                                                  )
(Individually and on behalf of all others                                   )
Similarly situated
                                                                            )
                                                                            )
               Plaintiff(s)                                                       Civil Action No. 1:24-cv-23359-KMW
                   v.                            )
                                                 )
OMEGAPRO FOREX TRADING, LTD                      )
et Al                                            )
          Defendant(s)
                                                 )
                                                 )
_________________________________________________

                                                      SUMMONS IN A CIVIL ACTION

 To: (Defendant’s name and address): Rashid, Bin. Mohammed Bin
                                            40 D Almas Tower, Office 40 D
                                            Jumeirah Lakes Towers
                                            Dubai, Arab Emirates, JLT

           A lawsuit has been filed against you.

          Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
 are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
 P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
 the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
 whose name and address are:

                                        J. Wil Morris
                                        Morris Legal LLC
                                        2800 Biscayne Blvd., Ste 530
                                        Miami, FL 33137

        If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
 You also must file your answer or motion with the court.



                                                                                      CLERK OF COURT

                                                                                                               s/ C.Quinones
 Date:         Jan 13, 2025
                                                                                                   Signature of Clerk or Deputy Clerk
